Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 1 of 22



                                                                  1
                      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 2 of 22
B2550 (Form 2550 – Subpoena to Appear and Testify at a Hearing or Trial in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                       (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                          (ii) disclosing an unretained expert's opinion or information that
                                                                                            does not describe specific occurrences in dispute and results from the
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                         expert's study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:    (A)                  (C)     Specifying Conditions as an Alternative. In the circumstances
within 100 miles of where the person resides, is employed, or regularly                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person; or                                                          modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly             conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
(i) is a party or a party’s officer; or                                                     be otherwise met without undue hardship; and
(ii)        is commanded to attend a trial and would not incur substantial                  (ii) ensures that the subpoenaed person will be reasonably
    expense.                                                                                    compensated.

  (2) For Other Discovery. A subpoena may command:                                           (e) Duties in Responding to a Subpoena.
(A) production of documents, or electronically stored information, or things
    at a place within 100 miles of where the person resides, is employed, or                    (1) Producing Documents or Electronically Stored Information.
    regularly transacts business in person; and                                              These procedures apply to producing documents or electronically
(B) inspection of premises, at the premises to be inspected.                                 stored information:
                                                                                             (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.                                  documents must produce them as they are kept in the ordinary course
                                                                                             of business or must organize and label them to correspond to the
(1)        Avoiding Undue Burden or Expense; Sanctions. A party or                           categories in the demand.
attorney responsible for issuing and serving a subpoena must take                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is                      electronically stored information, the person responding must produce
required must enforce this duty and impose an appropriate sanction —                         it in a form or forms in which it is ordinarily maintained or in a
which may include lost earnings and reasonable attorney's fees — on a                        reasonably usable form or forms.
party or attorney who fails to comply.                                                       (C) Electronically Stored Information Produced in Only One Form.
                                                                                             The person responding need not produce the same electronically
(2)        Command to Produce Materials or Permit Inspection.           (A)                  stored information in more than one form.
Appearance Not Required. A person commanded to produce documents,                            (D) Inaccessible Electronically Stored Information. The person
electronically stored information, or tangible things, or to permit the                      responding need not provide discovery of electronically stored
inspection of premises, need not appear in person at the place of production                 information from sources that the person identifies as not reasonably
or inspection unless also commanded to appear for a deposition, hearing, or                  accessible because of undue burden or cost. On motion to compel
trial.                                                                                       discovery or for a protective order, the person responding must show
     (B) Objections. A person commanded to produce documents or tangible                     that the information is not reasonably accessible because of undue
things or to permit inspection may serve on the party or attorney designated                 burden or cost. If that showing is made, the court may nonetheless
in the subpoena a written objection to inspecting, copying, testing or                       order discovery from such sources if the requesting party shows good
sampling any or all of the materials or to inspecting the premises — or to                   cause, considering the limitations of Rule 26(b)(2)(C). The court may
producing electronically stored information in the form or forms requested.                  specify conditions for the discovery.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,                   (2) Claiming Privilege or Protection.
the following rules apply:                                                                       (A) Information Withheld. A person withholding subpoenaed
(i)        At any time, on notice to the commanded person, the serving                       information under a claim that it is privileged or subject to
party may move the court for the district where compliance is required for                   protection as trial-preparation material must:        (i) expressly
an order compelling production or inspection.                                                make the claim; and
(ii)       These acts may be required only as directed in the order, and the                       (ii) describe the nature of the withheld documents,
order must protect a person who is neither a party nor a party's officer from                communications, or tangible things in a manner that, without revealing
significant expense resulting from compliance.                                               information itself privileged or protected, will enable the parties to
                                                                                             assess the claim.      (B) Information Produced. If information
  (3) Quashing or Modifying a Subpoena.                                                      produced in response to a subpoena is subject to a claim of privilege or
     (A) When Required. On timely motion, the court for the district where                   of protection as trial preparation material, the person making the claim
compliance is required must quash or modify a subpoena that:             (i)                 may notify any party that received the information of the claim and the
fails to allow a reasonable time to comply;                                                  basis for it. After being notified, a party must promptly return,
(ii) requires a person to comply beyond the geographical limits specified in                 sequester, or destroy the specified information and any copies it has;
      Rule 45(c);                                                                            must not use or disclose the information until the claim is resolved;
(iii) requires disclosure of privileged or other protected matter, if no                     must take reasonable steps to retrieve the information if the party
exception or waiver applies; or         (iv)                                                 disclosed it before being notified; and may promptly present the
subjects a person to undue burden.                                                           information under seal to the court for the district where compliance is
   (B)      When Permitted. To protect a person subject to or affected by a                  required for a determination of the claim. The person who produced
    subpoena, the court for the district where compliance is required may,                   the information must preserve the information until the claim is
    on motion, quash or modify the subpoena if it requires:         (i)                      resolved.
    disclosing a trade secret or other confidential research, development, or                …
    commercial information; or                                                               (g) Contempt. The court for the district where compliance is required
                                                                                             – and also, after a motion is transferred, the issuing court – may hold
                                                                                             in contempt a person who, having been served, fails without adequate
                                                                                             excuse to obey the subpoena or an order related to it.

                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
     Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 3 of 22




Guide to Judiciary Policy
Vol. 20: Administrative Claims and Litigation

Ch. 8: Testimony and Production of Records
§ 810 Overview
      § 810.10 Purpose
      § 810.20 Authority
      § 810.30 Definitions
      § 810.40 Applicability

§ 820 Testimony and Production of Records

§ 830 Contents and Timeliness of a Request

§ 840 Identity of Determining Officer

§ 850 Procedure When Request Is Made




§ 810 Overview
§ 810.10 Purpose

      (a)    These regulations establish policy, assign responsibilities and prescribe
             procedures with respect to:

             (1)    the production or disclosure of official information or records by the
                    federal judiciary; and

             (2)    the testimony of present or former judiciary personnel relating to
                    any official information acquired by any such individual as part of
                    that individual’s performance of official duties, or by virtue of that
                    individual’s official status, in federal, state, or other legal
                    proceedings covered by these regulations.

      (b)    The purpose of these regulations is, among other things, to:

             (1)    conserve the time of federal judicial personnel for conducting
                    official business;

             (2)    minimize the involvement of the federal judiciary in issues unrelated
                    to its mission;


                                   Last substantive revision (Transmittal GR-4) September 2, 2009
                                               Last revised (minor technical changes) July 5, 2016
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 4 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                     Page 2


                (3)      maintain the impartiality of the federal judiciary in disputes between
                         private litigants;

                (4)      avoid spending the time and money of the United States for private
                         purposes; and

                (5)      protect confidential and sensitive information and the deliberative
                         processes of the federal judiciary.

§ 810.20 Authority

Adopted by the Judicial Conference of the United States in March 2003 (JCUS-MAR 03,
p. 9), these regulations are promulgated under the authority granted the Director of the
Administrative Office of the U.S. Courts (AO), under the supervision and direction of the
Conference, to:

        (a)     “[s]upervise all administrative matters relating to the offices of clerks and
                other clerical and administrative personnel of the courts” (28 U.S.C.
                § 604(a)(1));

        (b)     “[p]erform such other duties as may be assigned to him by. . .the Judicial
                Conference of the United States” (28 U.S.C. § 604(a)(24));

        (c)     “make, promulgate, issue, rescind, and amend rules and regulations. . .as
                may be necessary to carry out the Director’s functions, powers, duties,
                and authority” (28 U.S.C. § 604(f)); and

        (d)     “delegate any of the Director’s functions, powers, duties, and authority. . .
                to such officers and employees of the judicial branch of Government as
                the Director may designate” (28 U.S.C. § 602(d)).

                                       § 810.30 Definitions
Information      All information, records, documents, or materials of any kind, however stored,
or records       that are in the custody or control of the federal judiciary or were acquired by
                 federal judicial personnel in the performance of their official duties or because
                 of their official status.

Judicial         All present and former officers and employees of the federal judiciary and any
personnel        other individuals who are or have been appointed by, or subject to the
                 supervision, jurisdiction, or control of, the federal judiciary, including
                 individuals hired through contractual agreements by or on behalf of the federal
                 judiciary, or performing services under such agreements for the federal
                 judiciary, such as consultants, contractors, subcontractors, and their
                 employees and personnel. This phrase also includes alternative dispute
                 resolution neutrals or mediators, special masters, individuals who have served
                 and are serving on any advisory committee or in any advisory capacity, and
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 5 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                           Page 3


                                       § 810.30 Definitions
                 any similar personnel performing services for the federal judiciary.

Legal            All pretrial, trial, and post-trial stages of all existing or anticipated judicial or
proceedings      administrative actions, hearings, investigations, cases, controversies, or
                 similar proceedings, including grand jury proceedings, before courts,
                 agencies, commissions, boards or other tribunals, foreign and domestic, or all
                 legislative proceedings pending before any state or local body or agency,
                 other than those specified in § 810.40(b).

Request          An order, subpoena, or other demand of a court, or administrative or other
                 authority, of competent jurisdiction, under color of law, or any other request by
                 whatever method, for the production, disclosure, or release of information or
                 records by the federal judiciary, or for the appearance and testimony of federal
                 judicial personnel as witnesses as to matters arising out of the performance of
                 their official duties, in legal proceedings. This definition includes requests for
                 voluntary production or testimony in the absence of any legal process.

Testimony        Any written or oral statement in any form by a witness arising out of the
                 performance of the witness’ official duties, including personal appearances
                 and statements in court or at a hearing or trial, depositions, answers to
                 interrogatories, affidavits, declarations, interviews, telephonic, televised, or
                 videotaped remarks, or any other response during discovery or similar
                 proceedings that would involve more than production of documents.

§ 810.40 Applicability
        (a)     These regulations apply to all components and personnel of the federal
                judiciary, except the following agencies and their personnel:

                      •   Supreme Court of the United States,
                      •   Federal Judicial Center, and
                      •   United States Sentencing Commission.

        (b)     These regulations do not apply to:

                (1)       Legal proceedings in which the federal judiciary or a court or office
                          of the federal judiciary is a party.

                (2)       Legal proceedings, arising out of the performance of official duties
                          by federal judicial personnel, in which federal judicial personnel are
                          parties.

                (3)       Legal proceedings in which federal judicial personnel are to testify
                          while in leave or off-duty status as to matters that do not arise out
                          of the performance of official duties. (Note: These regulations do
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 6 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                  Page 4


                         not seek to deny federal judicial personnel access to the courts as
                         citizens in their private capacities on off-duty time.)

                (4)      Congressional requests for testimony or documents.

                (5)      Requests governed by the garnishment regulations in Guide, Vol.
                         20, Ch. 5.

                (6)      Proceedings conducted under the Judicial Conduct and Disability
                         Act, 28 U.S.C. § § 351-364, under the authority conferred on the
                         judicial councils of the respective federal judicial circuits by
                         28 U.S.C. § 332, or under the authority conferred on the Judicial
                         Conference of the United States by 28 U.S.C. § 331.

                (7)      Requests by members of the public, when properly made through
                         the procedures established by a court for that purpose, for records
                         or documents, such as court files or dockets, routinely made
                         available to members of the public for inspection or copying.

§ 820 Testimony and Production of Records
        (a)     Federal judicial personnel may not provide testimony or produce records
                in legal proceedings except as authorized in accordance with these
                regulations.

        (b)     Testimony may be taken from federal judicial personnel only at the federal
                judicial personnel’s place of business, or at any other place authorized by
                the determining officer designated in § 840(b). Additional conditions may
                be specified by the determining officer. The time for such testimony
                should be reasonably fixed so as to avoid substantial interference with the
                performance of official duties by federal judicial personnel.

        (c)     Nothing in these regulations should restrict in any way any defenses,
                objections, or privileges that may be asserted by federal judicial personnel
                in response to a request.

        (d)     These regulations are not intended to, and do not:

                (1)      waive the sovereign immunity of the United States; or

                (2)      infringe upon or displace the responsibilities committed to the
                         Department of Justice in conducting litigation on behalf of the
                         United States in appropriate cases.

        (e)     These regulations are intended only to govern the internal operation of the
                federal judiciary and are not intended to create, do not create, and may
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 7 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                Page 5


                not be relied upon to create any right or benefit, substantive or procedural,
                enforceable in law or equity against the United States or against the
                federal judiciary or any court, office, or personnel of the federal judiciary.

§ 830 Contents and Timeliness of a Request
        (a)     The request for testimony or production of records must set forth, or must
                be accompanied by an affidavit setting forth, a written statement by the
                party seeking the testimony or production of records, or by counsel for the
                party, containing:

                •        an explanation of the nature of the testimony or records sought,

                •        the relevance of the testimony or records sought to the legal
                         proceedings, and

                •        the reasons why the testimony or records sought, or the information
                         contained therein, are not readily available from other sources or by
                         other means.

                (1)      This explanation must contain sufficient information for the
                         determining officer designated in § 840(b) to determine whether or
                         not federal judicial personnel should be allowed to testify or the
                         records should be produced.

                (2)      Where the request does not contain an explanation sufficient for
                         this purpose, the determining officer may deny the request or may
                         ask the requester to provide additional information.

        (b)     The request for testimony or production of records, including the written
                statement required by § 830(a), must be provided to the federal judicial
                personnel from whom testimony or production of records is sought at least
                15 working days in advance of the time by which the testimony or
                production of records is to be required. Failure to meet this requirement
                will provide a sufficient basis for denial of the request.

        (c)     The determining officer designated in § 840(b) has the authority to waive
                the requirements of this section (i.e., § 830) in the event of an emergency
                under conditions which the requester could not reasonably have
                anticipated and which demonstrate a good faith attempt to comply with the
                requirements of these regulations. In no circumstance, however, is a
                requester entitled to consideration of an oral or untimely request. To the
                contrary, whether to permit such an exceptional procedure is a decision
                within the sole discretion of the determining officer.
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 8 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                 Page 6


§ 840 Identity of Determining Officer
        (a)     Federal judicial personnel may not, in response to a request for testimony
                or the production of records in legal proceedings, comment, testify, or
                produce records without the prior approval of the determining officer
                designated below in § 840(b).

        (b)     The determining officer authorized to make determinations under these
                regulations will be as follows:

                (1)      In the case of a request directed to a federal court of appeals judge,
                         district judge, Court of International Trade judge, Court of Federal
                         Claims judge, bankruptcy judge, or magistrate judge, or directed to
                         a current or former member of such a judge’s personal staff (such
                         as a judge’s secretary, law clerk), the determining officer will be the
                         federal court of appeals judge, district judge, Court of International
                         Trade judge, Court of Federal Claims judge, bankruptcy judge, or
                         magistrate judge himself or herself.

                (2)      In the case of a request directed to a former federal court of
                         appeals judge, district judge, Court of International Trade judge,
                         Court of Federal Claims judge, bankruptcy judge, or magistrate
                         judge, or directed to a former member of a former judge’s personal
                         staff who is no longer a court employee and thus is not covered by
                         § 840(b)(1) or (b)(3), the determining officer will be the chief judge
                         of the court on which the former judge previously served.

                (3)      In the case of a request directed to an employee or former
                         employee of a court office (other than an employee or former
                         employee covered by § 840(b)(1), such as the office of the clerk of
                         court, the office of the circuit executive, the staff attorneys’ and/or
                         preargument attorneys’ office, the probation and/or pretrial services
                         office, and the office of the federal public defender, the determining
                         officer will be the unit head of the particular office, such as the:

                         •       clerk of court,
                         •       circuit executive,
                         •       senior staff attorney,
                         •       chief probation officer,
                         •       chief pretrial services officer, or
                         •       federal public defender.

                         Note: In these instances, the determining officer (except the
                         federal public defender, as provided below) should, as provided by
                         local rule or order, consult with the chief judge of the court served
                         by the particular office regarding the proper response to a request.
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 9 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                Page 7


                         The federal public defender, in the case of a request related to the
                         defender office’s administrative function (but not requests related to
                         the defender office’s provision of representation pursuant to the
                         Criminal Justice Act, 18 U.S.C. § 3006A, and related statutes),
                         should, as provided by local rule or order, consult with the chief
                         judge of the court of appeals that appoints the federal public
                         defender regarding the proper response to such a request.

                (4)      In the case of a request directed to an employee or former
                         employee of the AO, the determining officer will be the AO’s
                         General Counsel.

                (5)      In the case of a request not specified in subsections (1) through (4)
                         above (such as a request made to federal judicial personnel as
                         defined in § 810.30 (“judicial personnel”) who are not current or
                         former judges or their staff, employees of a court office, or
                         employees of the AO), the determining officer will be the officer
                         designated to serve as the determining officer by the chief judge of
                         the court served by the recipient of the request. In these instances,
                         the determining officer (if someone other than the chief judge of the
                         relevant court) should, if the circumstances warrant, consult with
                         the chief judge of the relevant court regarding the proper response
                         to a request.

§ 850 Procedure When Request Is Made
        (a)     In response to a request for testimony or the production of records by
                federal judicial personnel in legal proceedings covered by these
                regulations, the determining officer may determine:

                •        whether the federal judicial personnel may be interviewed,
                         contacted, or used as witnesses, including as expert witnesses,
                         and
                •        whether federal judicial records may be produced, and what, if any
                         conditions will be imposed upon such interview, contact, testimony,
                         or production of records.

                The determining officer may deny a request if the request does not meet
                any requirement imposed by these regulations.

                In determining whether or not to authorize the disclosure of federal judicial
                information or records or the testimony of federal judicial personnel, the
                determining officer will consider, based on the following factors, the effect
                in the particular case, as well as in future cases generally, which testifying
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 10 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                  Page 8


                or producing records will have on the ability of the federal judiciary or
                federal judicial personnel to perform their official duties.

                (1)      The need to avoid spending the resources of the United States for
                         private purposes, to conserve the time of federal judicial personnel
                         for the performance of official duties, and to minimize the federal
                         judiciary’s involvement in issues unrelated to its mission.

                (2)      Whether the testimony or production of records would assist the
                         federal judiciary in the performance of official duties.

                (3)      Whether the testimony or production of records is necessary to
                         prevent the perpetration of fraud or injustice in the case or matter in
                         question.

                (4)      Whether the request is unduly burdensome or is inappropriate
                         under applicable court or administrative rules.

                (5)      Whether the testimony or production of records is appropriate or
                         necessary under the rules of procedure governing the case or
                         matter in which the request arises, or under the relevant
                         substantive law of privilege.

                (6)      Whether the request is within the proper authority of the party
                         making it.

                (7)      Whether the request meets the requirements of these regulations.

                (8)      Whether the request was properly served under applicable court,
                         administrative, or other rules.

                (9)      Whether the testimony or production of records would violate a
                         statute, regulation, or ethical rule.

                (10)     Whether the testimony or production of records would disclose
                         information regarding the exercise of judicial or quasi-judicial
                         responsibilities by federal judicial personnel in the decisional or
                         deliberative process.

                (11)     Whether the testimony or production of records would disclose
                         confidential information from or pertaining to a presentence
                         investigation report or pertaining to an individual’s probation,
                         parole, or supervised release, or would disclose any other
                         information that is confidential under any applicable statute or
                         regulation.
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 11 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                                 Page 9


                (12)     Whether the testimony or production of records reasonably could
                         be expected to result in the appearance of the federal judiciary
                         favoring one litigant over another, or endorsing or supporting a
                         position advocated by a litigant.

                (13)     Whether the request seeks testimony, records or documents
                         available from other sources.

                (14)     Whether the request seeks testimony of federal judicial personnel
                         as expert witnesses.

                (15)     Whether the request seeks personnel files, records or documents
                         pertaining to a current or former federal judicial officer or employee,
                         and

                         (A)     the personnel files, records or documents sought by the
                                 request may be obtained from the current or former federal
                                 judicial officer or employee in question, or

                         (B)     the personnel files, records or documents sought by the
                                 request would be made available to the requester with the
                                 written consent or authorization of the current or former
                                 federal judicial officer or employee in question.

                (16)     Any other consideration that the determining officer designated in
                         § 840(b) may consider germane to the decision.

        (b)     Federal judicial personnel upon whom a request for testimony or the
                production of records in legal proceedings is made should promptly notify
                the determining officer designated in § 840(b). If the determining officer
                determines, upon consideration of the requirements of these regulations
                and the factors listed in § 850(a), that the federal judicial personnel upon
                whom the request was made should not comply with the request, the
                federal judicial personnel upon whom the request was made should notify
                the requester of these regulations and must respectfully decline to comply
                with the request. In appropriate circumstances federal judicial personnel
                may — through the Department of Justice, or with the assistance of
                retained legal counsel if the Department of Justice is unavailable — file a
                motion, before the appropriate court or other authority, to quash such a
                request or to obtain other appropriate relief.

        (c)     If, after federal judicial personnel have received a request in a legal
                proceeding and have notified the determining officer in accordance with
                this section, a response to the request is required before instructions from
                the determining officer are received, federal judicial personnel should
                notify the requester of these regulations and inform the requester that the
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 12 of 22


Guide to Judiciary Policy, Vol. 20, Ch. 8                                            Page 10


                request is under review pursuant to these regulations. If necessary,
                federal judicial personnel may — through the Department of Justice, or
                with the assistance of retained legal counsel if the Department of Justice
                is unavailable — seek a stay of the request pending a final determination
                by the determining officer, or seek other appropriate relief.

        (d)     If, in response to action taken under § 850(c), a court of competent
                jurisdiction or other appropriate authority declines to stay the effect of a
                request pending a determination by the determining officer, or if such court
                or other authority orders that the request be complied with notwithstanding
                the final decision of the determining officer, the federal judicial personnel
                upon whom the request was made must notify the determining officer and
                must comply with the determining officer’s instructions regarding
                compliance with the order or request. Unless and until otherwise
                instructed by the determining officer, however, the federal judicial
                personnel upon whom the request was made must respectfully decline to
                comply with the order or request. See United States ex rel. Touhy v.
                Ragen, 340 U.S. 462 (1951).
         Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 13 of 22



                                                 EXHIBIT A

                                             Testimony Topics

1. Mr. Alonzo’s knowledge of former bankruptcy judge David R. Jones’s (“Jones”) romantic
   relationship, cohabitation, ﬁnancial relationship, or joint home ownership with Elizabeth Freeman
   (“Freeman”).

2. Mr. Alonzo’s knowledge of Freeman’s presence at or involvement in any mediation conducted by
   Jones in any of the cases listed on Exhibit 6 to the United States Trustee’s Motion for Relief from
   Judgment or Order Pursuant to Federal Rule of Civil Procedure 60(b)(6) and Federal Rule of
   Bankruptcy Procedure 9024 Approving any Jackson Walker Applications for Compensation and
   Reimbursement of Expenses, attached hereto as Exhibit A-1.

3. Mr. Alonzo’s knowledge of Jones’s attendance at any social events relating to any mediation
   conducted by Jones in any of the cases listed on Exhibit 6 to the United States Trustee’s Motion for
   Relief from Judgment or Order Pursuant to Federal Rule of Civil Procedure 60(b)(6) and Federal Rule
   of Bankruptcy Procedure 9024 Approving any Jackson Walker Applications for Compensation and
   Reimbursement of Expenses, attached hereto as Exhibit A-1.

4. Mr. Alonzo’s knowledge of any disparate treatment of Jackson Walker, LLP (“Jackson Walker”) or
   Freeman, or any biased or prejudicial rulings or orders involving Jackson Walker or Freeman, in any
   of the cases listed on Exhibit A-1 by Jones as a result of his romantic relationship, cohabitation,
   ﬁnancial relationship or joint home ownership with Freeman.

5. Mr. Alonzo’s understanding of the reasons for Jackson Walker’s popularity as local counsel.

6. Mr. Alonzo’s knowledge of any Jackson Walker personnel’s knowledge of the romantic relationship,
   cohabitation, ﬁnancial relationship, or joint home ownership between Jones and Freeman.

7. Mr. Alonzo’s knowledge of other individuals in the Houston legal community with knowledge of the
   romantic relationship, cohabitation, ﬁnancial relationship, or joint home ownership between Jones
   and Freeman.

8. Mr. Alonzo’s knowledge of any ﬁnancial arrangements between former Judge Jones and Ms.
   Freeman, including estate plans as well as residences or other real property jointly purchased or
   owned by both.

9. Mr. Alonzo’s knowledge of any visits by any Jackson Walker attorneys to a residence or other real
   property purchased or owned by Jones and Freeman.

10. Mr. Alonzo’s knowledge of any Jackson Walker attorneys attending social or professional events that
    Jones or Freeman hosted, attended, or was an honoree.
         Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 14 of 22



11. Mr. Alonzo’s involvement in the adversary proceeding captioned Michael Van Deelen v. David
    Dickson, et al., Case No. 20-03309, ﬁled in the Bankruptcy Court for the Southern District of Texas
    (Houston Division), including the motion for recusal and related documents.

12. Mr. Alonzo’s knowledge of payments made by Jackson Walker or by Freeman on Jones’s behalf in
    relation to any of the cases listed on Exhibit A-1, including any cases that Jones mediated in which
    Jackson Walker represented a party.
     Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 15 of 22



                                               EXHIBIT B

Written Statement Required by Guide to Judiciary Policy, Volume 20, Section 830(a)

Nature of the Testimony Sought

The Judicial Policy ﬁrst requires that a request contain “an explanation of the nature of the
testimony or records sought.” Judicial Policy § 830(a) (ﬁrst bullet). To the extent that the testimony
related to the topics in Exhibit A pertains to any official information acquired as part of the
performance of official duties, the United States Trustee for Region 7 (“UST”) seeks authorization
pursuant to Chapter 8: Testimony and Production of Records of the Guide to Judiciary Policy
(“Judicial Policy”) to obtain said testimony from former judiciary employee Albert Alonzo (“Alonzo”),
case manager for former bankruptcy judge David R. Jones (“Jones”).

Relevance of the Testimony to the Legal Proceedings

Second, this testimony is “relevan[t] . . . to the legal proceedings.” Judicial Policy § 830(a) (second
bullet). The UST believes that the testimony sought here is relevant to the underlying dispute.

In this matter, the UST contends that Jackson Walker failed to disclose a signiﬁcant connection (the
Relationship, as described below) between a partner at the ﬁrm, Elizabeth Freeman (“Freeman”),
and Jones. Such a connection would have prohibited Jones from approving Jackson Walker’s
retention or compensation in 26 cases over which he presided. Further, the UST has argued that
Jackson Walker’s silence allowed Jones to mediate seven cases in violation of various judicial and
ethical rules. The UST contends that because of these undisclosed circumstances, Jackson
Walker’s fees in all 33 cases should be forfeited.

The UST’s argument is that the undisclosed intimate relationship between Jones and Ms. Freeman
(the “Relationship”) compromised the integrity of and public faith in the bankruptcy system, tainted
the administration of the various cases and bankruptcy estates, and created an unlevel playing
ﬁeld for parties, who might have sought recusal of Jones, objected to the retention of Jackson
Walker, or sought other appropriate relief had the fact of the Relationship been known. The UST
argues that sanctions against Jackson Walker are appropriate because its attorneys failed to
disclose the Relationship between former Judge Jones and Ms. Freeman. Jackson Walker has
disputed these allegations.

Testimony on the topics identiﬁed in Exhibit A is relevant to this litigation because the UST’s
position is that Jackson Walker knew of the Relationship between Freeman and Jones and that the
Relationship should have been disclosed both by Jackson Walker and Jones. The UST believes that
testimony by Alonzo will shed light on the issue of whether anyone at Jackson Walker (aside from
Freeman) was aware of the Relationship. The UST also seeks possible official information regarding
the assignment of cases to Jones involving Freeman and Jackson Walker as well as the
circumstances where recusal or disqualiﬁcation of Jones was sought, contemplated or occurred,
including in the Van Deelen litigation. This information is also relevant and necessary to ascertain
the extent to which the concealment of the Relationship tainted the administration of bankruptcy
cases by Jones, and tipped the scales in favor of Jackson Walker. Finally, the trial topics were
previously reviewed by the Court and Mr. Alonzo’s testimony within the scope of those topics was
obtained through deposition.

                                                    1
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 16 of 22



Availability of Information Sought from Other Sources or Means
Third, “the [official] testimony . . . sought . . . [is] not readily available from other sources or by other
means.” Judicial Policy § 830(a) (third bullet). It is the UST’s position that discovery regarding Jones
and Freeman’s Relationship, and others’ knowledge of the same, is not official court information or
action, and does not require a determining official’s approval to be examined. The case
assignments to Jones involving Freeman and Jackson Walker, however, and the lack of disclosure of
the Relationship, including circumstances involving Jones’s possible recusal and disqualiﬁcation,
do intersect with official action. Alonzo, as Jones’s long time case manager and close friend, is in a
unique position to know these procedures and circumstances. Some of the above-described
official testimony may be available solely from Alonzo. Alonzo can best describe what cases were
allowed and were not allowed to be assigned to Jones and the circumstances that allowed Jones to
both preside over and mediate cases involving Freeman and Jackson Walker, while the Relationship
existed and remained undisclosed. Moreover, Alonzo, as case manager for former Chief Judge
Jones, may have direct knowledge of the handling of the plaintiff’s addendum to Van Deelen’s
motion to recuse that included the anonymous letter detailing the Jones/Freeman Relationship and
how the addendum was stamped received at 10:00 a.m. but only ﬁled under seal at 2:26 p.m. after
Jackson Walker’s motion to seal was ﬁled at 1:31 p.m.

Factors to be Considered by the Determining Officer in Authorizing the Testimony

Section 850(a) of the Judicial Policy lists sixteen factors to be considered in determining whether to
permit the testimony requested. The following factors support authorizing the testimony:

The determining officer should authorize the testimony of Alonzo based on the following factors:

1.      Alonzo no longer works for the federal judiciary and therefore no resources of the United
States or time of federal judicial personnel will be expended in Jackson Walker’s taking of his
testimony.

2.     Alonzo’s testimony on official matters will not aid or hinder the federal judiciary in the
performance of official duties.

3.      Alonzo’s testimony is necessary to prevent the perpetration of injustice, as the UST has
alleged that the undisclosed intimate Relationship between Jones and Freeman signiﬁcantly
compromised the integrity of and public faith in the bankruptcy system.

4.     The request is not unduly burdensome or inappropriate under applicable court or
administrative rules.

5.     The testimony is appropriate under the rules of procedure governing this case, as well as
the scheduling order entered in this case.

6.      The UST is properly authorized to make the request.

7.      The UST’s request meets the requirements of the regulations established by the Guide to
Judiciary Policy, Volume 20, § 830(a).

8.      The UST properly served the request under applicable court, administrative, and other rules.


                                                      2
      Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 17 of 22



9.      Alonzo’s testimony would not violate a statute, regulation, or ethical rule.

10.     Alonzo’s testimony on the topics set forth herein would not disclose information regarding
the exercise of judicial or quasi-judicial responsibilities by federal judicial personnel in the
decisional or deliberative process, except to the extent that Alonzo testiﬁes on his official acts as a
case manager.

11.     Alonzo’s testimony would not disclose conﬁdential information from or pertaining to a
presentence investigation report or pertaining to an individual’s probation, parole, or supervised
release, and would not disclose any other information that is conﬁdential under any applicable
statute or regulation.

12.       Alonzo’s testimony is not reasonably expected to result in the appearance of the federal
judiciary favoring one litigant over another or endorsing or supporting a position advanced by a
litigant.

13.     Alonzo’s testimony on the official topics set forth herein is not available from other sources.

14.     Alonzo’s testimony is not sought as expert witness testimony.

15.     The request does not seek personnel ﬁles, records, or documents pertaining to a current or
former federal judicial officer or employee.

Prompt Notiﬁcation of the Determining Officer

As provided in Section 850(b) of the Judiciary Policy, to the extent the testimony requested relates
to any official information acquired as part of the performance of official duties, please promptly
notify the determining officer of this request for testimony.




                                                   3
             Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 18 of 22
                             U.S. DEPARTMENT OF JUSTICE
                 INSTRUCTIONS FOR FACT WITNESSES APPEARING AT A
                          SCHEDULED JUDICIAL PROCEEDING
                      (Not Applicable to Federal Government Employees)

IT IS IMPERATIVE THAT YOU READ THE INFORMATION CONTAINED ON THIS FORM BEFORE
YOU TRAVEL FOR YOUR COURT APPEARANCE.

UPON RECEIPT OF THIS FORM, YOU MUST CONTACT THE EMAIL ADDRESS LISTED BELOW
FOR INFORMATION REGARDING TRAVEL ARRANGEMENTS AND SPECIFIC ENTITLEMENTS.

IF YOU HAVE A MEDICAL CONDITION OR A FAMILY SITUATION THAT REQUIRES SPECIAL
CONSIDERATION, YOU MUST SEND AN EMAIL TO THE ADDRESS LISTED BELOW AS SOON AS
POSSIBLE.

CONTACT PERSON(S):
TELEPHONE NUMBER(S):
EMAIL ADDRESS(ES):                 USTPFactwitness@usdoj.gov

  ≈ BEFORE YOU TRAVEL, YOU MUST SEND AN EMAIL TO THE ADDRESS LISTED ABOVE TO CONFIRM
  YOUR TRIAL ATTENDANCE DATES.

SECTION A: THE FOLLOWING INFORMATION APPLIES TO WITNESSES APPEARING IN THE
TRIAL DISTRICT WHERE THEY RESIDE:

  1. ATTENDANCE FEE: You will receive a fee of $40 per day.

  2. TRANSPORTATION: Send an email to the address listed above to discuss travel for your appearance.

  The following rules apply to transportation expenses:

         A. Local Travel: The reimbursable methods of travel to court are:
            1. Bus
            2. Subway
            3. Uber or Lyft
            4. Taxi/Shuttle
            5. Privately Own Vehicle (POV)
                   a. Automobile $0.70 per mile
                   b. Motorcycle $0.68 per mile

         B. Other Acceptable Reimbursable Travel Expenses:
            1. Tolls
            2. Parking




                                                          1                               Form OBD-2
                                                                                          November 2024
              Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 19 of 22
                             U.S. DEPARTMENT OF JUSTICE
                 INSTRUCTIONS FOR FACT WITNESSES APPEARING AT A
                          SCHEDULED JUDICIAL PROCEEDING
                      (Not Applicable to Federal Government Employees)

SECTION B: THE FOLLOWING INFORMATION APPLIES TO WITNESSES APPEARING IN THE
TRIAL DISTRICT WHERE THEY DO NOT RESIDE:

  1. ATTENDANCE FEE: You will receive a fee of $40 per day including travel days.

  2. TRANSPORTATION AND LODGING: Send an email to the address listed above to make travel and
     lodging arrangements. It is preferable that the government make the travel/lodging arrangement. You must
     request and receive approval to make your own travel and lodging arrangements, (you must contact the email
     address listed above for authorization prior to making any arrangements). If authorized, your reimbursement
     will be up to, but not exceed, the government rates for transportation, lodging and mileage. The government
     will utilize one of the following recommended modes of transportation:

          A. Common Carrier:
             1. Airplane
             2. Train
             3. Bus

    If approved to travel by a privately owned vehicle in lieu of travel by common carrier to appear in another trial
    district, your request for reimbursement of mileage expenses cannot exceed the value of the common carrier
    ticket. If two or more witnesses travel in the same vehicle, mileage expenses are paid to only one witness.

    The following expenses are not reimbursable:

          B. Non-Reimbursable Expenses:
             1. First class, business class or frequent flyer miles
             2. Charter service (private plane or bus)
             3. Non-refundable tickets
             4. Hotel taxes (depending on the situation)

          C. Meals: If you are required to remain away from home overnight, you will receive the following daily
             meal allowances:
             1. 1/2 M&IE rate for each travel day
             2. Full M&IE rate for each full day at court

    The M&IE per diem rates are set based on locality by GSA. Also, if you receive a cash advance, the cash
    advance will be deducted from your total reimbursement.

                 ≈ YOU MUST RETAIN RECEIPTS FOR EXPENSES EXCEEDING $75 ≈

SECTION C: CONCLUSION OF TESTIMONY

When your testimony concludes, The person(s) requiring your attendance will provide you with a DOJ-3 Fact
Witness Voucher. You will be required to list your expenses on this voucher. If you require funds to return home,
notify the person(s) requiring your attendance.




                                                          2                                          Form OBD-2
                                                                                                     November 2024
Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 20 of 22
Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 21 of 22
Case 23-00645 Document 621-1 Filed in TXSB on 04/07/25 Page 22 of 22
